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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9          UNITED STATES OF AMERICA,                     CASE NO. CR16-136-JCC
10                            Plaintiff,                  MINUTE ORDER
11                 v.

12          RUBEN MOTA-ALVAREZ,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Alexander Chan’s motion to withdraw as counsel
18   for Defendant Ruben Mota-Alvarez on the basis of personal legal problems and challenges (Dkt.
19   No. 153). Mr. Chan had previously submitted a notice of withdrawal (Dkt. No. 149) and the
20   Court ordered appointment of replacement counsel. (Dkt. Nos. 150 and 151.)
21          Mr. Chan’s motion to withdraw as counsel is GRANTED.
22

23          DATED this 7th day of June 2017.
24                                                       William M. McCool
                                                         Clerk of Court
25

26                                                       /s/Paula McNabb
                                                         Deputy Clerk


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